Case 3:21-cv-00129-RLY-MPB Document 112 Filed 09/22/22 Page 1 of 2 PageID #: 2427




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  EVANSVILLE DIVISION

  CONSOLIDATED GRAIN AND BARGE CO.,

                 Plaintiff,

          vs.                                              NO. 3:21-CV-00129-RLY-MPB

  PORTS OF INDIANA aka INDIANA PORT
  COMMISSION,

                 Defendant.


                                      NOTICE OF APPEAL

        Notice is hereby given that Plaintiff Consolidated Grain and Barge Co., hereby appeals to the

 United States Court of Appeals for the Seventh Circuit the final Judgment (ECF No. 109) and Entry

 Granting Defendant’s Motion to Dismiss (ECF No. 108) entered on August 31, 2022.


  Dated: September 22, 2022                        Respectfully submitted,

                                                   Consolidated Grain and Barge Co.

                                                   /s/ Kal K. Shah
                                                   Kal K. Shah (pro hac vice)
                                                   Matthew J. Langley (pro hac vice)
                                                   BENESCH, FRIEDLANDER, COPLAN &
                                                   ARONOFF LLP
                                                   71 South Wacker Drive, Suite 1600
                                                   Chicago, IL 60606
                                                   Telephone: 312.212.4979
                                                   kshah@beneschlaw.com
                                                   mlangley@beneschlaw.com

                                                   Attorneys for Plaintiff Consolidated Grain and
                                                   Barge Co.
Case 3:21-cv-00129-RLY-MPB Document 112 Filed 09/22/22 Page 2 of 2 PageID #: 2428




                                CERTIFICATE OF SERVICE

       I hereby certify that on September 22, 2022, the foregoing document was electronically filed

 using the court’s CM/ECF system (CM/ECF) and that a copy was served upon the following via

 CM/ECF:


       Andrielle Marie Metzel, ametzel@taftlaw.com
       Ann O. McCready, amccready@taftlaw.com
       Peter S. French, pfrench@taftlaw.com
       Scott R. Alexander, salexander@taftlaw.com
       Vivek Randle Hadley, vhadley@taftlaw.com
       Counsel for Defendant



                                                  /s/ Kal K. Shah
